
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-05-228-
CV



IN RE ANGELA G. FRANKLIN	RELATOR



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ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B
: LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: July 14, 2005



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




